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     Individually and on behalf of all others similarly situated
 7
 8
 9                        UNITED STATES DISTRICT COURT

10         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

11
12
13   Raul Martinez, Individually and on CLASS ACTION COMPLAINT
     behalf of all others similarly     FOR VIOLATIONS OF THE
14
     situated,                          CALIFORNIA LABOR CODE,
15                                      FAIR LABOR STANDARDS ACT,
                   Plaintiff,           AND INDUSTRIAL WELFARE
16
                                        COMMISSION WAGE ORDER
17          vs.
                                        DEMAND FOR JURY TRIAL
18   Hub Group Trucking, Inc.; Hub
     Group, Inc., Doing Business In
19   California As California Hub
     Group,
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                  Defendants.
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 1         Plaintiff Raul Martinez, individually and on behalf of others similarly
 2   situated, alleges as follows:
 3          NATURE OF ACTION AND INTRODUCTORY STATEMENT
 4         1.       Plaintiff Raul Martinez (“Plaintiff”) brings this putative class action
 5   against Defendants Hub Group Trucking, Inc. and Hub Group, Inc., Doing
 6   Business In California As California Hub Group (“Defendants”), on behalf of
 7   himself individually and a putative class of drivers working for Defendants.
 8         2.       Defendants operate a trucking company.
 9         3.       Through this action, Plaintiff alleges that Defendants have engaged
10   in a systematic pattern of wage and hour violations under the Fair Labor
11   Standards Act, California Labor Code and Industrial Welfare Commission
12   (“IWC”) Wage Orders, all of which contribute to Defendants’ deliberate unfair
13   competition.
14         4.       Defendants prevented Plaintiff and putative class members from
15   taking off-duty meal and rest periods as required by California law, by requiring
16   them to be responsive to their cellular telephones and tablets while on any
17   purported breaks. Plaintiff and putative class members were forced to sign meal
18   period waivers as a condition of employment and such waivers were not signed
19   by Defendant; therefore, such waivers were not voluntary and contrary to law.
20   Defendants violated minimum wage and overtime laws under the California
21   Labor Code and Fair Labor Standards Act by requiring Plaintiff and putative class
22   members to work when they were clocked out, including during meal periods and
23   at the beginning and end of their shifts. Defendants violated the California Labor
24   Code by failing to reimburse Plaintiff and putative class members for the use of
25   cellular telephones for work purposes. Defendants illegally deducted wages from
26   putative class members related to the use of the required Comdata card, including
27   the “chargeable cash access fees” related to the use of the card.             Finally,
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 1   Defendants failed to pay Plaintiff and putative class members their final wages
 2   upon termination.
 3         5.        Plaintiff is informed and believes, and thereon alleges, that
 4   Defendants have increased their profits by violating California wage and hour
 5   laws by, among other things:
 6         (a)       Failing to pay overtime and doubletime wages at the proper rates;
 7         (b)       Failing to timely pay all earned wages;
 8         (c)       Unlawfully deducting from the wages of employees;
 9         (d)       Failing to reimburse all business expenses incurred by drivers;
10         (e)       Failing to provide meal periods or compensation in lieu thereof;
11         (f)       Failing to authorize or permit rest breaks or provide compensation in
12   lieu thereof;
13         (g)       Failing to provide accurate itemized wage statements; and
14         (h)       Failing to pay all wages due upon separation of employment.
15         6.        Plaintiff brings this lawsuit seeking monetary relief against
16   Defendants on behalf of himself and all others similarly situated in California to
17   recover, among other things, unpaid wages and benefits, interest, attorneys’ fees,
18   costs and expenses and penalties pursuant to Labor Code §§ 201-203, 204, 210,
19   221, 226, 226.7, 510, 511, 512, 1182.12, 1194, 1194.2, 1197 and 1198, and
20   provisions of the Fair Labor Standards Act, 29 U.S.C. § 201 et. seq. (“FLSA”).
21                                 JURISDICTION AND VENUE
22         7.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §
23   1331, because this complaint alleges claims under the laws of the United States,
24   specifically the FLSA. This Court has jurisdiction over Plaintiff’s claims under
25   California law pursuant to 28 U.S.C. § 1367(a) because they arise from the same
26   case or controversy as Plaintiff’s federal claims, and both sets of claims share a
27   common nucleus of operative fact.
28   ///
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 1          8.     The United States District Court for the Central District of California
 2   – Eastern Division has personal jurisdiction over Defendants because many of the
 3   acts complained of and giving rise to the claims alleged took place in California
 4   and in this District.
 5          9.     This is a class action, pursuant to California Code of Civil Procedure
 6   § 382. The monetary damages and restitution sought by Plaintiff exceeds the
 7   minimal jurisdictional limits of the Superior Court and will be established
 8   according to proof at trial.
 9                                        THE PARTIES
10          10.    Plaintiff is a citizen of California.       Plaintiff was employed by
11   Defendants during the Class Period in California.
12          11.    Plaintiff is informed and believes, and thereon alleges, that
13   Defendants at all times hereinafter mentioned, was an employer as defined in and
14   subject to the Labor Code and IWC Wage Orders, whose employees were and are
15   engaged throughout this county and the State of California.
16          12.    Plaintiff is informed and believes, and thereon alleges, that each
17   defendant acted in all respects pertinent to this action as the agent of the other
18   defendant, carried out a joint scheme, business plan or policy in all respects
19   pertinent hereto, and the acts of each defendant are legally attributable to the
20   other defendant. Furthermore, defendants in all respects acted as the employer
21   and/or joint employer of Plaintiff and the class members.
22          13.    Plaintiff is informed and believes, and thereon alleges, that each and
23   all of the acts and omissions alleged herein were performed by, or are attributable
24   to Defendants, acting as the agent or alter ego for the other, with legal authority to
25   act on the other’s behalf. The acts of any and all Defendants were in accordance
26   with, and represent, the official policy of Defendants.
27          14.    At all relevant times, Defendants, and each of them, acted within the
28   scope of such agency or employment, or ratified each and every act or omission
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 1   complained of herein. At all relevant times, Defendants, and each of them, aided
 2   and abetted the acts and omissions of each and all the other Defendants in
 3   proximately causing the damages herein alleged.
 4         15.    Plaintiff is informed and believes, and thereon alleges, that each of
 5   said Defendants is in some manner intentionally, negligently or otherwise
 6   responsible for the acts, omissions, occurrences and transactions alleged herein.
 7                        COLLECTIVE ACTION ALLEGATIONS
 8         16.    Plaintiff brings the First and Second Cause of Action, pursuant to the
 9   FLSA, 29 U.S.C. § 216(b), on behalf of himself and all similarly situated persons
10   who elect to opt into this action who work or have worked for Defendants as
11   drivers nationwide in the past three (3) years (“the FLSA Class”).
12         17.    Defendants is liable under the FLSA for, inter alia, failing to
13   properly compensate Plaintiff and other drivers.        There are many similarly
14   situated current and former drivers who have not been paid for all hours worked
15   over 40 in a workweek, or received all minimum wages, in violation of the FLSA
16   who would benefit from the issuance of a court-supervised notice regarding the
17   present lawsuit and the opportunity to join it. Those similarly situated employees
18   are known to Defendant, are readily identifiable, and can be located through
19   Defendants’ records, such that notice should be sent to them pursuant to 29
20   U.S.C. § 216(b).
21                          CALIFORNIA CLASS ALLEGATIONS
22         18.    Plaintiff brings the Third, Fourth, Fifth, Sixth, Seventh, Eighth,
23   Ninth, Tenth, and Eleventh Causes of Action under Rule 23 of the Federal Rules
24   of Civil Procedure on behalf of himself and all persons who have worked for
25   Defendants as drivers in California from April 6, 20161 until the entry of
26
     1
27    The statute of limitations for this matter was tolled pursuant to Cal. Rules of
     Court, Appendix I, Emergency Rule No. 9.
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 1   judgment (the “California Class”).
 2          19.      Excluded from the California Class are Defendants’ legal
 3   representatives, officers, directors, assigns, and successors, or any individual who
 4   has, or who at any time during the class period has had, a controlling interest in
 5   Defendant; the Judge(s) to whom this case is assigned and any member of the
 6   Judges’ immediate family; and all persons who will submit timely and otherwise
 7   proper requests for exclusion from the California Class.
 8          20.      The persons in the California Class identified above are so numerous
 9   that joinder of all members is impracticable. The Plaintiff is informed and
10   believes, and on that basis alleges, that Defendants has employed at least 100
11   persons who satisfy the definition of the California Class.
12          21.      Plaintiff also seeks to certify the following Subclass: All members of
13   the Class who separated their employment from Defendants from April 6, 2017
14   up until the entry of judgment.
15          22.      Defendants acted or refused to act on grounds generally applicable to
16   the California Class, thereby making appropriate final injunctive relief or
17   corresponding declaratory relief with respect to the California Class as a whole.
18          23.      Members of the Class and Subclass described above will be
19   collectively referred to as “class members.”         Plaintiff reserves the right to
20   establish other or additional subclasses, or modify any Class or Subclass
21   definition, as appropriate based on investigation, discovery and specific theories
22   of liability.
23          24.      This action has been brought and may properly be maintained as a
24   class action under the California Code of Civil Procedure § 382 because there are
25   common questions of law and fact as to the Class that predominate over questions
26   affecting only individual members including, but not limited to:
27          (i)      Whether Defendants failed to compensate Plaintiff and class members
28   to work off-the-clock, resulting in a failure to pay all minimum wages and overtime
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 1   wages;
 2         (j)    Whether Defendants paid Plaintiff and class members overtime and
 3   doubletime compensation at the proper rates;
 4         (k)    Whether Defendants failed to timely pay all wages earned by Plaintiff
 5   and class members;
 6         (l)    Whether Defendants deprived Plaintiff and class members of
 7   compliant meal periods or required Plaintiff and class members to work through
 8   meal periods without compensation;
 9         (m)    Whether Defendants deprived Plaintiff and class members of
10   compliant rest breaks;
11         (n)    Whether Defendants failed to timely pay Plaintiff and former class
12   members all wages due upon termination or within 72 hours of resignation;
13         (o)    Whether Defendants required Plaintiff and class members to use their
14   personal cellular devices to for work-related purposes, without paying a reasonable
15   percentage of their bills;
16         (p)    Whether Defendants failed to furnish Plaintiff and class members with
17   accurate, itemized wage statements; and
18         (q)    Whether Defendants engaged in unfair business practices in violation
19   of Business & Professions Code §§ 17200, et seq.
20         25.    There is a well-defined community of interest in this litigation and
21   the Class is readily ascertainable:
22         (a)    Numerosity: The members of the Class are so numerous that joinder
23   of all members is impractical. Although the members of the Class are unknown to
24   Plaintiff at this time, on information and belief, the Class is estimated to be greater
25   than 100 individuals. The identity of the class members are readily ascertainable by
26   inspection of Defendants’ employment and payroll records.
27         (b)    Typicality: The claims (or defenses, if any) of Plaintiff are typical of
28   the claims (or defenses, if any) of the Class because Defendants’ failure to comply
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 1   with the provisions of California wage and hour laws entitled each class member to
 2   similar pay, benefits and other relief. The injuries sustained by Plaintiff are also
 3   typical of the injuries sustained by the Class because they arise out of and are
 4   caused by Defendants’ common course of conduct as alleged herein.
 5          (c)     Adequacy: Plaintiff is qualified to, and will fairly and adequately
 6   represent and protect the interests of all members of the Class because it is in his
 7   best interest to prosecute the claims alleged herein to obtain full compensation and
 8   penalties due to him and the Class. Plaintiff’s attorneys, as proposed class counsel,
 9   are competent and experienced in litigating large employment class actions and are
10   versed in the rules governing class action discovery, certification and settlement.
11   Plaintiff has incurred and, throughout the duration of this action, will continue to
12   incur attorneys’ fees and costs that have been and will be necessarily expended for
13   the prosecution of this action for the substantial benefit of each class member.
14          (d)     Superiority: The nature of this action makes the use of class action
15   adjudication superior to other methods. A class action will achieve economies of
16   time, effort and expense as compared with separate lawsuits, and will avoid
17   inconsistent outcomes because the same issues can be adjudicated in the same
18   manner and at the same time for each Class. If appropriate this Court can, and is
19   empowered to, fashion methods to efficiently manage this case as a class action.
20          (e)     Public Policy Considerations: Employers in the State of California
21   and other states violate employment and labor laws every day.               Current
22   employees are often afraid to assert their rights out of fear of direct or indirect
23   retaliation.   Former employees are fearful of bringing actions because they
24   believe their former employers might damage their future endeavors through
25   negative references and/or other means. Class actions provide the class members
26   who are not named in the complaint with a type of anonymity that allows for the
27   vindication of their rights at the same time as affording them privacy protections.
28   ///
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 1                                  FIRST CAUSE OF ACTION
 2                           FAILURE TO PAY MINIMUM WAGES
 3                                  (Violation of 29 U.S.C. § 206)
 4            26.   Plaintiff realleges and incorporates by reference all other paragraphs
 5   as if they were set forth again herein.
 6            27.   At all relevant times, Defendants have been an employer and
 7   Plaintiff and its drivers have been employees under California and Federal law
 8   entitled to the protections of the FLSA.
 9            28.   The foregoing conduct, as alleged, constitutes a violation of 29
10   U.S.C. § 206, which protects Plaintiff and putative class members right to earn a
11   minimum wage and provides for damages and punishment for violations of that
12   right.
13            29.   In particular, Defendants failed to pay Plaintiff and putative class
14   members all minimum wages owed when Defendants did not pay for all hours
15   worked. Plaintiff and class members were not being paid at least minimum wage
16   for their work.
17            30.   Although Plaintiff and putative class members periodically did not
18   earn at least the minimum wage, Defendants had a policy and practice of failing
19   and refusing to pay them minimum wage for all hours worked and thus violated
20   and continue to violate the above-referenced minimum wage protections.
21            31.   Plaintiff, individually and on a collective basis, seeks the amount of
22   the respective unpaid wages owed to them, liquidated damages, attorneys’ fees
23   and costs pursuant to 29 U.S.C. §§ 201 et seq. and such other legal and equitable
24   relief as the Court deems just and proper.
25                                SECOND CAUSE OF ACTION
26                          FAILURE TO PAY OVERTIME WAGES
27                                  (Violation of 29 U.S.C. § 207)
28            32.   Plaintiff realleges and incorporates by reference all other paragraphs
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  1   as if they were set forth again herein.
  2           33.   At all relevant times, Defendants have been an employer and
  3   Plaintiff and its drivers have been employees under Federal Law entitled to the
  4   protections of the FLSA.
  5           34.   The foregoing conduct, as alleged, constitutes a violation of 29
  6   U.S.C. § 207, which requires overtime pay for time worked over 40 hours in a
  7   week.
  8           35.   Although Plaintiff and putative class members periodically worked
  9   more than 40 hours in a week, Defendants had a policy and practice of failing and
 10   refusing to pay them and other employees overtime and thus violated and
 11   continue to violate the above-referenced overtime provisions of the FLSA.
 12           36.   Plaintiff and Instawork Workers seeks the amount of the respective
 13   unpaid wages owed to them, liquidated damages, attorneys’ fees and costs
 14   pursuant to 29 U.S.C. §§ 201 et seq. and such other legal and equitable relief as
 15   the Court deems just and proper.
 16                                THIRD CAUSE OF ACTION
 17                          FAILURE TO PAY MINIMUM WAGES
 18             (Violation of Labor Code §§ 1182.12, 1194, 1194.2, 1197; Violation of
 19                                  IWC Wage Order § 3)
 20           37.   Plaintiff hereby re-allege and incorporate by reference all paragraphs
 21   above as though fully set forth herein.
 22           38.   Labor Code §§ 1194 and 1197 provide that the minimum wage for
 23   employees fixed by the IWC is the minimum wage to be paid to employees, and
 24   the payment of a lesser wage than the minimum so fixed is unlawful.
 25           39.   During the relevant time period, Defendants paid Plaintiff and class
 26   members less than minimum wages when, for example, Defendants required
 27   Plaintiff and class members to work off-the-clock during meal breaks, and during
 28   security checks when Plaintiff and class members were under Defendants’
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  1   control. To the extent these hours do not qualify for the payment of overtime or
  2   doubletime, Plaintiff and class members were not being paid at least minimum
  3   wage for their work.
  4         40.    During the relevant time period, Defendants regularly failed to pay at
  5   least minimum wage to Plaintiff and class members for all hours worked pursuant
  6   to Labor Code     §§ 1194 and 1197.
  7         41.    Defendants’ failure to pay Plaintiff and class members the minimum
  8   wage as required violates Labor Code §§ 1194 and 1197. Pursuant to these
  9   sections, Plaintiff and class members are entitled to recover the unpaid balance of
 10   their minimum wage compensation as well as interest, costs and attorney’s fees.
 11         42.    Pursuant to Labor Code § 1194.2, Plaintiff and class members are
 12   entitled to recover liquidated damages in an amount equal to the wages
 13   unlawfully unpaid and interest thereon.
 14                              FOURTH CAUSE OF ACTION
 15                          FAILURE TO PAY OVERTIME WAGES
 16                    (Violation of Labor Code §§ 510, 511, 1194 and 1198;
 17                                Violation of IWC Wage Order)
 18         43.    Plaintiff hereby re-alleges and incorporates by reference all
 19   paragraphs above as though fully set forth herein.
 20         44.    Labor Code § 1198 and the applicable IWC Wage Order provide
 21   that it is unlawful to employ persons without compensating them at a rate of pay
 22   either one and one-half or two times the person’s regular rate of pay, depending
 23   on the number of hours worked by the person on a daily or weekly basis.
 24         45.    Pursuant to California Labor Code §§ 510 and 1194, during the
 25   relevant time period, Defendants were required to compensate Plaintiff and class
 26   members for all overtime hours worked, calculated at one and one-half (1½)
 27   times the regular rate of pay for hours worked in excess of eight (8) hours per day
 28   and/or forty (40) hours per week and for the first eight (8) hours of the seventh
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  1   consecutive work day, with doubletime after eight (8) hours on the seventh day of
  2   any work week, or after twelve (12) hours in any work day.
  3         46.    Plaintiff and class members were non-exempt employees entitled to
  4   the protections of California Labor Code §§ 510, 511 and 1194.
  5         47.    During the relevant time period, Defendants failed to pay Plaintiff
  6   and class members overtime and doubletime wages at the correct rate because
  7   they failed to include non-discretionary wages, including, but not limited to, shift
  8   premiums, and/or other incentive pay in the computation of their overtime and
  9   doubletime rate of pay, which caused Plaintiff and Class Members to not be paid
 10   all overtime and doubletime wages owed. Defendants also failed to pay Plaintiffs
 11   and class members overtime and doubletime wages for all overtime hours worked
 12   when they required Plaintiffs and class members to work off-the-clock during
 13   meal breaks, or for work performed during off-the-clock security checks.
 14   Because Plaintiff and class members worked shifts of eight hours or more, and
 15   twelve hours or more, this unpaid time qualified for overtime premium payment,
 16   and doubletime premium payment.
 17         48.    In violation of state law, Defendants have knowingly and willfully
 18   refused to perform their obligations and compensate Plaintiff and class members
 19   for all wages earned as alleged above.
 20         49.    Defendants’ failure to pay Plaintiff and class members the unpaid
 21   balance of overtime and doubletime compensation, as required by California law,
 22   violates the provisions of Labor Code §§ 510, 511 and 1198, and is therefore
 23   unlawful.
 24         50.    Pursuant to Labor Code § 1194, Plaintiff and class members are
 25   entitled to recover their unpaid overtime and doubletime compensation as well as
 26   interest, costs and attorneys’ fees.
 27   ///
 28   ///
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  1                                FIFTH CAUSE OF ACTION
  2                  FAILURE TO TIMELY PAY ALL EARNED WAGES
  3            (Violation of Labor Code §§ 204 and 210; Violation of IWC Wage
  4                                             Order)
  5         51.    Plaintiff hereby re-alleges and incorporates by reference all
  6   paragraphs above as though fully set forth herein.
  7         52.    Labor Code § 204 provides that all wages earned by an employee are
  8   due and payable twice during each calendar month.
  9         53.    Defendants failed to timely pay Plaintiff and class members all of their
 10   earned wages as required by Labor Code Section 204.
 11         54.    Plaintiff and class members have been deprived of their rightfully
 12   earned wages as a direct and proximate result of Defendants’ failure to pay said
 13   compensation. Plaintiff and class members are entitled to recover such amounts,
 14   plus interest thereon, attorney’s fees and costs.
 15         55.    In addition, Plaintiff and class members are entitled to penalties
 16   pursuant to Labor Code § 210 as follows: (1) for Defendants’ initial violation, $100
 17   for each failure to pay each Class Member; and (2) for each of Defendants’
 18   subsequent violations, or any willful or intentional violation, $200 for each failure
 19   to pay each Class Member, plus 25 percent of the amount unlawfully held.
 20                                  SIXTH CAUSE OF ACTION
 21                           UNLAWFUL DEDUCTION OF WAGES
 22                                 (Violation of Labor Code § 221)
 23         56.    Plaintiff hereby re-alleges and incorporates by reference all paragraphs
 24   above as though fully set forth herein.
 25         57.    Labor Code § 221 provides, in pertinent part, “[i]t shall be unlawful for
 26   any employer to collect or receive from an employee any part of wages theretofore
 27   paid by said employer to said employee.”
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  1         58.    During the relevant time period, Defendants made unlawful deductions
  2   from Plaintiff’s and class members’ wages.
  3         59.    Defendants’ violation of Labor Code § 221 caused Plaintiffs and class
  4   members to suffer substantial monetary losses, and expenses and attorney’s fees in
  5   seeking to compel Defendants to fully perform their obligations under California law,
  6   as a result Plaintiff and class members suffered and continue to suffer a loss of wages
  7   and compensation.
  8                              SEVENTH CAUSE OF ACTION
  9                         FAILURE TO PROVIDE MEAL PERIODS
 10            (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage
 11                                          Order)
 12         60.    Plaintiff hereby re-alleges and incorporates by reference all
 13   paragraphs above as though fully set forth herein.
 14         61.    Labor Code § 226.7 provides that no employer shall require an
 15   employee to work during any meal period mandated by the IWC Wage Orders.
 16         62.    Section 11 of the applicable IWC Wage Order states, “no employer
 17   shall employ any person for a work period of more than five (5) hours without a
 18   meal period of not less than 30 minutes, except that when a work period of not
 19   more than six (6) hours will complete the day’s work the meal period may be
 20   waived by mutual consent of the employer and the employee.”
 21         63.    Labor Code § 512(a) provides that an employer may not require,
 22   cause or permit an employee to work for a period of more than five (5) hours per
 23   day without providing the employee with an uninterrupted meal period of not less
 24   than thirty (30) minutes, except that if the total work period per day of the
 25   employee is not more than six (6) hours, the meal period may be waived by
 26   mutual consent of both the employer and the employee.
 27         64.    Labor Code § 512(a) also provides that an employer may not employ
 28   an employee for a work period of more than ten (10) hours per day without
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  1   providing the employee with a second meal period of not less than thirty (30)
  2   minutes, except that if the total hours worked is no more than twelve (12) hours,
  3   the second meal period may be waived by mutual consent of the employer and the
  4   employee only if the first meal period was not waived.
  5         65.     During the relevant time period, Plaintiff and class members did not
  6   receive compliant meal periods for each five hours worked per day. Defendants
  7   also failed to provide Plaintiff and class members with a second, off-the-clock
  8   meal break for shifts lasting longer than ten hours.
  9         66.     Labor Code § 226.7(b) and section 11 of the applicable IWC Wage
 10   Order require an employer to pay an employee one additional hour of pay at the
 11   employee’s regular rate of compensation for each work day that a meal period is
 12   not provided.
 13         67.     At all relevant times, Defendants failed to pay Plaintiff and class
 14   members all meal period premiums due for meal period violations pursuant to
 15   Labor Code § 226.7(b) and section 11 of the applicable IWC Wage Order.
 16         68.     As a result of Defendants’ failure to pay Plaintiff and class members
 17   an additional hour of pay for each day a meal period was not provided, Plaintiff
 18   and class members suffered and continue to suffer a loss of wages and
 19   compensation.
 20                               EIGHTH CAUSE OF ACTION
 21                            FAILURE TO PERMIT REST BREAKS
 22               (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order)
 23         69.       Plaintiff hereby re-alleges and incorporates by reference all
 24   paragraphs above as though fully set forth herein.
 25         70.       Labor Code § 226.7(a) provides that no employer shall require an
 26   employee to work during any rest period mandated by the IWC Wage Orders.
 27         71.     Section 12 of the applicable IWC Wage Order states “every employer
 28   shall authorize and permit all employees to take rest periods, which insofar as
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  1   practicable shall be in the middle of each work period” and the “authorized rest
  2   period time shall be based on the total hours worked daily at the rate of ten (10)
  3   minutes net rest time per four (4) hours or major fraction thereof” unless the total
  4   daily work time is less than three and one-half (3½) hours.
  5         72.    During the relevant time period, Plaintiff and class members did not
  6   receive a ten (10) minute rest period for every four (4) hours or major fraction
  7   thereof worked. Defendants failed to provide Plaintiff and class members with a
  8   second rest period for shifts lasting eight hours or longer, or a third rest period for
  9   shifts lasting twelve hours or longer.
 10         73.    Labor Code § 226.7(b) and section 12 of the applicable IWC Wage
 11   Order requires an employer to pay an employee one additional hour of pay at the
 12   employee’s regular rate of compensation for each workday that the rest period is
 13   not provided.
 14         74.    At all relevant times, Defendants failed to pay Plaintiff and class
 15   members all rest period premiums due for rest period violations pursuant to Labor
 16   Code § 226.7(b) and section 12 of the applicable IWC Wage Order.
 17         75.    As a result of Defendants’ failure to pay Plaintiff and class members
 18   an additional hour of pay for each day a rest period was not provided, Plaintiff and
 19   class members suffered and continue to suffer a loss of wages and compensation.
 20                                NINTH CAUSE OF ACTION
 21                FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE
 22                                      STATEMENTS
 23               (Violation of Labor Code § 226; Violation of IWC Wage Order)
 24         76.    Plaintiff hereby re-alleges and incorporates by reference all
 25   paragraphs above as though fully set forth herein.
 26         77.    Labor Code § 226(a) requires Defendants to provide each employee
 27   with an accurate wage statement in writing showing nine pieces of information,
 28   including: (1) gross wages earned, (2) total hours worked by the employee, (3) the
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  1   number of piece-rate units earned and any applicable piece rate if the employee is
  2   paid on a piece-rate basis, (4) all deductions, provided that all deductions made on
  3   written orders of the employee may be aggregated and shown as one item, (5) net
  4   wages earned, (6) the inclusive dates of the period for which the employee is
  5   paid, (7) the name of the employee and the last four digits of his or her social
  6   security number or an employee identification number other than a social security
  7   number, (8) the name and address of the legal entity that is the employer, and (9)
  8   all applicable hourly rates in effect during the pay period and the corresponding
  9   number of hours worked at each hourly rate by the employee.
 10         78.    During the relevant time period, Defendants have knowingly and
 11   intentionally failed to comply with Labor Code § 226(a) on wage statements that
 12   were provided to Plaintiff and class members. The deficiencies include, among
 13   other things, the failure to correctly state the gross and net wages earned, the total
 14   hours worked and all applicable hourly rates in effect, and the number of hours
 15   worked at each hourly rate by Plaintiff and class members.
 16         79.    As a result of Defendants’ violation of California Labor Code §
 17   226(a), Plaintiff and class members have suffered injury and damage to their
 18   statutorily protected rights. Specifically, Plaintiff and class members have been
 19   injured by Defendants’ intentional violation of California Labor Code § 226(a)
 20   because they were denied both their legal right to receive, and their protected
 21   interest in receiving, accurate itemized wage statements under California Labor
 22   Code § 226(a). Plaintiff has had to file this lawsuit in order to determine the
 23   extent of the underpayment of wages, thereby causing Plaintiff to incur expenses
 24   and lost time. Plaintiff would not have had to engage in these efforts and incur
 25   these costs had Defendants provided the accurate wages earned. This has also
 26   delayed Plaintiff’s ability to demand and recover the underpayment of wages
 27   from Defendant.
 28         80.    California Labor Code § 226(a) requires an employer to pay the
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  1   greater of all actual damages or fifty dollars ($50.00) for the initial pay period in
  2   which a violation occurred, and one hundred dollars ($100.00) per employee for
  3   each violation in subsequent pay periods, plus attorney’s fees and costs, to each
  4   employee who was injured by the employer’s failure to comply with California
  5   Labor Code § 226(a).
  6         81.    Defendants’ violations of California Labor Code § 226(a) prevented
  7   Plaintiff and class members from knowing, understanding and disputing the
  8   wages paid to them, and resulted in an unjustified economic enrichment to
  9   Defendant. As a result of Defendants’ knowing and intentional failure to comply
 10   with California Labor Code § 226(a), Plaintiff and class members have suffered
 11   an injury, and the exact amount of damages and/or penalties is all in an amount to
 12   be shown according to proof at trial.
 13         82.    Plaintiff and class members are also entitled to injunctive relief
 14   under California Labor Code § 226(h), compelling Defendants to comply with
 15   California Labor Code § 226, and seek the recovery of attorneys’ fees and costs
 16   incurred in obtaining this injunctive relief.
 17                                TENTH CAUSE OF ACTION
 18                    FAILURE TO REIMBURSE BUSINESS EXPENSES
 19                        (Violation of Cal. Labor Code §§ 2800 and 2802)
 20         83.    Plaintiff re-alleges and incorporates by this reference each and every
 21   allegation set forth in all previous paragraphs of the Complaint.
 22
            84.    Labor Code section 2800 provides, in pertinent part, “[a]n employer
 23
      shall in all cases indemnify his employee for losses caused by the employer’s want
 24
      of ordinary care.”
 25
 26         85.    Labor Code section 2802 provides, in pertinent part, “[a]n employer

 27   shall indemnify his or her employee for all necessary expenditures or losses

 28   incurred by the employee in direct consequence of the discharge of his or her
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  1   duties…”
  2          86.   Further, Labor Code section 2802 additionally provides, in pertinent
  3   part: “(c)…the term ‘necessary expenditures or losses’ shall include all reasonable
  4   costs, including but not limited to, attorney’s fees incurred by the employee
  5   enforcing the rights granted by this section.”
  6
             87.   California Labor Code section 2804 mandates that this statutory right
  7
      cannot be waived.
  8
  9          88.   During the relevant time period, Defendants were required to

 10   indemnify and reimburse Plaintiff and class members for all expenditures or losses

 11   caused by the employer’s want of ordinary care and/or incurred in direct

 12   consequent of the discharge of their duties, but failed to indemnify and reimburse

 13   Plaintiff and class members.

 14          89.   As a direct and proximate result, Plaintiff and class members have
 15   suffered, and continue to suffer, substantial losses, related to the use and enjoyment
 16   of such monies to be reimbursed, lost interest on such monies, and expenses and
 17   attorney’s fees in seeking to compel Defendants to fully perform their obligations
 18   under California law, all to their damage in amounts according to proof at the time
 19   of trial.
 20          90.   Accordingly, Plaintiff and class members are entitled to recover, and
 21   hereby seek, an amount equal to incurred necessary expenditures, pre- and post-
 22   judgment interest, applicable penalties, attorneys’ fees and costs, and any further
 23   equitable relief this Court may deem just and proper. See Cal. Lab. Code § 2802;
 24   see also, Cal. Civ. Proc. Code § 1021.5.
 25          91.   Plaintiff, on behalf of himself and class members, requests relief as
 26   described below.
 27   ///
 28
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  1                              ELEVENTH CAUSE OF ACTION
  2            FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF
  3               EMPLOYMENT AND WITHIN THE REQUIRED TIME
  4           (Violation of Labor Code §§ 201, 202 and 203; Violation of IWC Wage
  5                                         Order)
  6         92.    Plaintiff hereby re-alleges and incorporates by reference all
  7   paragraphs above as though fully set forth herein.
  8         93.    California Labor Code §§ 201 and 202 provide that if an employer
  9   discharges an employee, the wages earned and unpaid at the time of discharge are
 10   due and payable immediately, and that if an employee voluntarily leaves his
 11   employment, his wages shall become due and payable not later than seventy-two
 12   (72) hours thereafter, unless the employee has given seventy-two (72) hours
 13   previous notice of his intention to quit, in which case the employee is entitled to
 14   his wages at the time of quitting.
 15         94.    During the relevant time period, Defendants willfully failed to pay
 16   Plaintiff and Waiting Time Subclass members all their earned wages upon
 17   termination including, but not limited to, proper minimum wages and overtime
 18   and doubletime compensation, either at the time of discharge or within seventy-
 19
      two (72) hours of their leaving Defendants’ employ.
 20         95.    Defendants’ failure to pay Plaintiff and Waiting Time Subclass
 21   members all their earned wages at the time of discharge or within seventy-two
 22   (72) hours of their leaving Defendants’ employ is in violation of Labor Code
 23   §§ 201 and 202.
 24         96.    California Labor Code § 203 provides that if an employer willfully
 25   fails to pay wages owed immediately upon discharge or resignation in accordance
 26   with Labor Code §§ 201 and 202, then the wages of the employee shall continue
 27   as a penalty from the due date at the same rate until paid or until an action is
 28
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  1   commenced; but the wages shall not continue for more than thirty (30) days.
  2         97.    Plaintiff and Waiting Time Subclass members are entitled to recover
  3   from Defendants the statutory penalty which is defined as Plaintiff’s and Waiting
  4   Time Subclass members’ regular daily wages for each day they were not paid, at
  5   their regular hourly rate of pay, up to a thirty (30) day maximum pursuant to
  6   Labor Code § 203.
  7                              TWELFTH CAUSE OF ACTION
  8          VIOLATION OF BUSINESS AND PROFESSIONS CODE §§ 17200,
  9                                        ET SEQ.
 10         98.    Plaintiff hereby re-alleges and incorporates by reference all
 11   paragraphs above as though fully set forth herein.
 12         99.    Defendants’ conduct, as alleged herein, has been and continues to be
 13   unfair, unlawful and harmful to Plaintiff and class members. Plaintiff seek to
 14   enforce important rights affecting the public interest within the meaning of Code
 15   of Civil Procedure § 1021.5.
 16         100. Defendants’ activities, as alleged herein, violate California law and
 17   constitute unlawful business acts or practices in violation of California Business
 18   and Professions Code §§ 17200, et seq.
 19         101. A violation of Business and Professions Code §§ 17200, et seq. may
 20   be predicated on the violation of any state or federal law.
 21         102. Defendants’ policies and practices have violated state law in at least
 22   the following respects:
 23         (a)    Failing to pay all minimum wages owed to Plaintiff and class
 24   members in violation of Labor Code §§ 1182.12, 1194, 1194.2, and 1197;
 25         (b)    Failing to pay all overtime and doubletime wages to Plaintiff and
 26   class members in violation of Labor Code §§ 510, 511, 1194 and 1198;
 27         (c)    Failing to timely pay all wages earned by Plaintiff and class
 28   members in violation of Labor Code §§ 204, and 210;
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  1         (d)    Deducting the wages of Plaintiff and class members in violation of
  2   Labor Code § 221;
  3         (e)    Failing to provide timely meal periods without paying Plaintiff and
  4   class members premium wages for every day said meal periods were not provided
  5   in violation of Labor Code §§ 226.7 and 512;
  6         (f)    Failing to authorize or permit rest breaks without paying Plaintiff
  7   and class members premium wages for every day said rest breaks were not
  8   authorized or permitted in violation of Labor Code § 226.7;
  9         (g)    Failing to provide Plaintiff and class members with accurate
 10   itemized wage statements in violation of Labor Code § 226; and
 11         (e)    Failing to timely pay all earned wages to Plaintiff and Waiting Time
 12   Subclass members upon separation of employment in violation of Labor Code §§
 13   201, 202 and 203.
 14         103. Defendants intentionally avoided paying Plaintiff and class
 15   members’ wages and monies, thereby creating for Defendants an artificially lower
 16   cost of doing business in order to undercut their competitors and establish and
 17   gain a greater foothold in the marketplace.
 18         104. Pursuant to Business and Professions Code §§ 17200, et seq.
 19   Plaintiff and class members are entitled to restitution of the wages unlawfully
 20   withheld and retained by Defendants during a period that commences four years
 21   prior to the filing of the Complaint, an award of attorneys’ fees pursuant to Code
 22   of Civil Procedure § 1021.5 and other applicable laws; and an award of costs.
 23                               PRAYER FOR RELIEF
 24         Plaintiff, on his own behalf and on behalf of all others similarly situated,
 25   pray for relief and judgment against Defendant, jointly and severally, as follows:
 26         1.     For certification of this action as a class action, including certifying
 27   the Class and Subclass alleged by Plaintiff;
 28         2.     For appointment of Raul Martinez as the class representative;
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  1         3.     For appointment of Lebe Law, APLC as class counsel for all
  2   purposes;
  3         4.     For compensatory damages in an amount according to proof with
  4   interest thereon;
  5         5.     For economic and/or special damages in an amount according to
  6   proof with interest thereon;
  7         6.     To pay all minimum, regular, and/or overtime wages for all hours
  8   worked as required by law in an amount according to proof;
  9         7.     To pay all meal period premiums for failure to provide off-duty meal
 10   periods as required by law, in an amount according to proof;
 11         8.     To pay all rest period premiums for failure to provide paid 10-minute
 12   rest periods as required by law, in an amount according to proof;
 13         9.     For waiting time penalties of 30-days’ pay pursuant to Labor Code
 14   section 203 related to Defendants’ failure to timely pay all wages due to Plaintiff
 15   and all other terminated or separated Class Members, distributed in a fair and
 16   equitable manner in an amount according to proof;
 17         10.    For reimbursement of unpaid business expenses, in accordance with
 18   Labor Code section 2802;
 19         11.    For reasonable attorneys’ fees, costs of suit and interest to the extent
 20   permitted by law, including pursuant to Code of Civil Procedure § 1021.5, Labor
 21   Code §§ 226(e) and 1194;
 22         12.    For statutory penalties to the extent permitted by law, including those
 23   pursuant to the Labor Code and IWC Wage Orders;
 24         13.    For liquidated damages in an amount equal to the wages unlawfully
 25   unpaid and interest thereon pursuant to Labor Code § 1194.2;
 26         14.    For restitution as provided by Business and Professions Code §§
 27   17200, et seq.;
 28         15.    For an order requiring Defendants to restore and disgorge all funds to
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  1   each employee acquired by means of any act or practice declared by this Court to
  2   be unlawful, unfair or fraudulent and, therefore, constituting unfair competition
  3   under Business and Professions Code §§ 17200, et seq.;
  4         16.    For an award of damages in the amount of unpaid compensation
  5   including, but not limited to, unpaid wages, benefits and penalties, including
  6   interest thereon;
  7         17.    For pre-judgment interest; and
  8         18.    For such other relief as the Court deems just and proper.
  9
 10
      Dated: July 13, 2020                LEBE LAW, APLC

 11

 12
                                          By:         /s/ Jonathan M. Lebe
 13                                                      Jonathan M. Lebe
 14                                            Attorney for Plaintiff Raul Martinez,
                                             Individually and on behalf of all others
 15                                                     similarly situated
 16

 17                             DEMAND FOR JURY TRIAL
 18         Plaintiff hereby demands a jury trial with respect to all issues triable of right
 19   by jury.
 20
      Dated: July 13, 2020                LEBE LAW, APLC
 21

 22

 23                                       By:           /s/ Jonathan M. Lebe
 24                                                      Jonathan M. Lebe
                                               Attorney for Plaintiff Raul Martinez,
 25                                          Individually and on behalf of all others
 26                                                     similarly situated

 27

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